Case 2:14-cv-07241-RSWL-MRW Document 69-1 Filed 03/18/15 Page 1 of 9 Page ID #:662




 1
     Dariush G. Adli, SBN 204959
 2   adli@adlilaw.com
     Marina Manoukian, SBN 180104
 3   Marina.manoukian@adlilaw.com
     ADLI LAW GROUP P.C.
 4
     444 South Flower Street, Suite 1750
 5   Los Angeles, California 90071
     Telephone: 213-623-6546
 6   Facsimile: 213-623-6554
 7
     Attorneys for Plaintiff
 8   Ketab Corporation
 9

10
                               UNITED STATES DISTRICT COURT
11
                          CENTRAL DISTRICT OF CALIFORNIA
12

13

14   KETAB CORP., a California                 Case No. 2:14-cv-07241-RSWL
     Corporation,                              (MRW)
15

16                               Plaintiff,
                                                PLAINTIFF'S MEMORANDUM OF
17                                              POINTS AND AUTHORITIES IN
                        vs.                     SUPPORT OF MOTION FOR
18
                                                LEAVE TO AMEND FIRST
19   MESRIANI LAW GROUP, a California           AMENDED COMPLAINT;
     Corporation, RODNEY MESRIANI, an           DECLARATION OF MARINA
20
     individual, SEYED ALI LIMONADI, aka        MANOUKIAN IN SUPPORT
     ALI LIMONADI, an individual; STUDIO        THEREOF
21
     CINEGRAPHIC LOS ANGELES, dba               Date: April 21, 2015
22
     IRTV; MELLI YELLOW PAGES, INC.             Time: 10:00 a.m.
23   and DOES 1 through 10, inclusive           Courtroom: 21, 5th floor
                                                Judge: Ronald S.W. Lew
24
                                 Defendants.
25

26

27

28

                                        1
          PLAINTIFF’S MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
               MOTION FOR LEAVE TO AMEND FIRST AMENDED COMPLAINT
Case 2:14-cv-07241-RSWL-MRW Document 69-1 Filed 03/18/15 Page 2 of 9 Page ID #:663




 1   TO THE HONORABLE COURT, ALL PARTIES AND THEIR RESPECTIVE
 2   COUNSEL(S) OF RECORD:
 3
           Plaintiff KETAB CORP. (“KETAB”) seeks to amend its complaint to add four
 4
     additional claims to the complaint, to add causes of action for Trademark
 5
     Infringement by Imitating and False Advertising, Common Law Unfair Competition
 6
     and False Designation of Origin, Common Law Fraud, California False Advertising.
 7
     Plaintiff also seeks to correct the caption and the designation of defendants in the body
 8
     of the complaint. Plaintiff’s request is based on this Court’s ruling on Defendants’
 9
     Motion to Dismiss and new facts discovered, in order to better plead the Plaintiff’s
10
     claims against Defendants.
11

12         Plaintiff’s proposed Second Amended Complaint (“SAC”) is attached hereto as
13   Exhibit A and incorporated by reference.
14
                               PROCEDURAL BACKGROUND
15
           Plaintiff filed its Complaint on September 19, 2014. Defendants MESRIANI
16
     LAW GROUP and RODNEY MESRIANI (“MESRIANI”) filed their Motion to
17
     Dismiss on November 7, 2014.          The Court ruled on MESRIANI’S motion on
18
     February 16, 2015 dismissing the claims for Trademark Infringement and
19
     Counterfeiting under 15 U.S.C. Section 1114, Federal Unfair Competition and false
20
     Designation of Origin under 15 U.S.C. Section 1125(a), California Common Law
21
     Trademark Infringement, and California Unfair Competition, with prejudice and the
22
     claims for Federal Trademark Dilution under 15 U.S.C. Section 1125(c), and
23

24
     Intentional Interference with Economic Relations, without prejudice.         The Court

25
     denied leave to amend the four claims dismissed with prejudice, even though this was

26   Plaintiff’s first attempt to plead claims against Defendants.
27         On February 26, 2015, Plaintiff filed its First Amended Complaint (“FAC”).
28   In preparing for and drafting the First Amended Complaint, Plaintiff realized that

                                               1
           PLAINTIFF’S NOTICE OF MOTION FOR LEAVE TO AMEND FIRST AMENDED COMPLAINT
Case 2:14-cv-07241-RSWL-MRW Document 69-1 Filed 03/18/15 Page 3 of 9 Page ID #:664




 1   facts discovered after the filing of the initial complaint in addition to the rulings of
 2   this Court on MESIRANI’S Motion to Dismiss supported adding four new claims.
 3   When the FAC was drafted, Plaintiffs inadvertently overlooked the portion of the
 4   Court’s order allowing amendment of only the causes of action dismissed without
 5
     prejudice and included four additional claims.
 6
           In response to Plaintiff’s FAC, MESRIANI sent a meet and confer letter
 7
     demanding the withdrawal of the new claims in order to avoid another Motion to
 8
     Dismiss.   Plaintiff realizing its mistake, contacted counsel for MESRIANI and
 9
     informed her that Plaintiff intends to file a motion for leave to amend the complaint
10
     to add the new claims which are appropriate under the circumstances, and requested
11
     that MESRIANI stipulate to such leave. MESRIANI through counsel refused to
12
     stipulate. Accordingly, this motion is necessary.
13
           Plaintiff has also filed a Motion for Reconsideration of the Court’s ruling on
14
     MESRIANI’S Motion to Dismiss. Plaintiff respectfully requests the Court to grant
15
     said motion and amend its ruling to either deny the Motion to Dismiss, or, at the
16
     very least, grant Plaintiff leave to amend the claims that the Court dismissed with
17

18
     prejudice. In either event, however, Plaintiff seeks to amend its complaint in order

19
     to add claims that have become appropriate based on new facts discovered.

20                              FACTUAL BACKGROUND
21         Plaintiff is in the business of providing telephone directory and marketing
22   services, electronic marketing and directory services, including, but not limited to,
23   legal directory services, and publishing Yellow Page directories to the Iranian
24   community in Southern California, across the U.S. and around the world, who live
25   outside of Iran, and has been in that business since 1981. Plaintiff uses several trade
26   names and marks to identify its services, including, inter alia, "Iranian Information
27   Center" and its Farsi translation "Markaze Ettelaat", "08", combinations of the "08"
28   mark, and "Yellow Page-Iranian." (collectively, the "KETAB MARKS"). Users are
                                               2
           PLAINTIFF’S NOTICE OF MOTION FOR LEAVE TO AMEND FIRST AMENDED COMPLAINT
Case 2:14-cv-07241-RSWL-MRW Document 69-1 Filed 03/18/15 Page 4 of 9 Page ID #:665




 1   able to telephonically, electronically, or through the print media, gain access to
 2   KETAB's information service by, e.g., calling 818/9-08-08-08, accessing www.o8.net,
 3   through its yellow pages directory, or otherwise.        Plaintiff has applied for and
 4   obtained several United States trademarks, including U.S. Trademark Registration
 5
     number 3,271,704, for its "08" mark.
 6
           MESRIANI knew, and were familiar with Plaintiff and the KETAB MARKS
 7
     through Plaintiff's internet, print, and radio advertisements.    In fact, MESRIANI
 8
     advertised on their own radio show that they are one of Plaintiff’s directory members.
 9
           Plaintiff filed a lawsuit against MESRIANI's Co-Defendant in 1995 for
10
     infringement of certain KETAB MARKS, including "Yellow-Page Iranian", "Iranian-
11
     Information-Center" and the latter's Farsi translation "Markaze-Ettelaat Iranian", and a
12
     “08 COMBINATION” phone number “818/8-08-08-08.” A settlement agreement was
13
     reached by the parties to that lawsuit, under which defendants were precluded from
14
     directly or indirectly using or benefiting from the marks.
15
           Then, sometime in 2014, MESRIANI began advertising and marketing
16
     themselves under the KETAB MARKS, specifically including the "08" mark's use in a
17

18
     phone number mark ("818.8.08.08.08") and on a domain name mark ("08law.net").

19
     Further, Plaintiffs discovered after filing the complaint that MESRIANI also provided

20   legal directory services to other contracted attorneys for areas of law that MESRIANI
21   did not practice in but earned a referral fee or compensation for such legal directory
22   services under those same marks.         MESRIANI’S www.08law.net web address
23   directed consumers to another domain name, www.findthebestlawfirm.com, through
24   which consumers could use the legal directory to find law firms. (Declaration of
25   Marina Manoukian ¶ 2)
26   ///
27   ///
28   ///
                                               3
           PLAINTIFF’S NOTICE OF MOTION FOR LEAVE TO AMEND FIRST AMENDED COMPLAINT
Case 2:14-cv-07241-RSWL-MRW Document 69-1 Filed 03/18/15 Page 5 of 9 Page ID #:666




 1                                  LEGAL ARGUMENT
 2

 3         A. The Court Should Freely Give Leave to Amend When Justice So
 4            Requires
 5
           Rule 15 of the Federal Rules of Civil Procedure provides that “a party may
 6
     amend its pleading only with the opposing party’s written consent or the court’s leave.
 7
     The court should freely give leave when justice so requires.” Furthermore, the Ninth
 8
     Circuit has held that “rule 15’s policy of favoring amendments to pleadings should be
 9
     applied with extreme liberality.” DCD Programs, Ltd. V. Leighton, 833 F. 2d 183,
10
     186 (9th Cir. 1987) (quoting U.S. v. Webb, 655 F.2d 977 (9th Cir. 1981)); see also
11
     Advanced Cardiovascular Sys., Inc. v. SciMed Life Sys., Inc., 989 F. Supp. 1237, 1241
12
     (N.D. Cal. 1997) (“[T]he court must be very liberal in granting leave to amend.”)
13
           Because there is a policy favoring determination of cases on their merits, the
14
     role of pleadings is limited. Leave to amend the pleadings should be freely given
15
     unless the opposing party makes a showing of undue prejudice, bad faith or dilatory
16
     motives on the part of Plaintiff. Forman v. Davis, 371 U.S. 178, 83 S.Ct. 227, 230
17

18
     (1962). The policy favoring leave to amend should be applied with extreme liberality.

19
     (Emphasis Added) Sonoma County Ass’n of Retired Employees v. Sonoma County,

20   708 F.3d 1109, 1117 (9th Cir. 2013). Furthermore, the Ninth Circuit has stated that the
21   “goal of Rule 15(b) is to promote the objective of deciding cases on the merits rather
22   than on the relative pleading skills of counsel.” Eminence Capital, LLC v.Aspeoan,
23   Inc., 316 F.3d 1048, 1051 (9th Cir. 2003).
24         Circumstances under which Rule 15(a) permits denial of leave to amend are
25   limited. Ynclan v. Department of Air Force, 943 F.2d 1388, 1391 (5th Cir. 1991).
26   Plaintiff is only required to establish the reason why an amendment is needed. The
27   burden then shifts to the defendants to oppose the motion to show that justice requires
28   denial. Shipner v. Eastern Air Lines, Inc., 868 F.2d 401, 406-407 (11th Cir. 1989)
                                               4
           PLAINTIFF’S NOTICE OF MOTION FOR LEAVE TO AMEND FIRST AMENDED COMPLAINT
Case 2:14-cv-07241-RSWL-MRW Document 69-1 Filed 03/18/15 Page 6 of 9 Page ID #:667




 1   “[U]nless a substantial reason exists to deny leave to amend, the discretion of the
 2   district court is not broad enough to permit denial.” Id. at 407
 3         Finally, Amendments seeking to add claims are to be granted more freely than
 4   amendments adding parties. Union Pacific. Railroad. Co. v. Nevada Power Co, 950
 5
     F.2d 1429, 1432 (9th Cir. 1991).
 6
           B. Plaintiff Should Be Given Leave to Amend its Complaint
 7
           In deciding whether justice requires granting leave to amend, factors to be
 8
     considered include: 1) the presence or absence undue delay; 2) bad faith or dilatory
 9
     motive; 3) repeated failure to cure deficiencies by previous amendments; 4) prejudice
10
     to opposing party; and 5) futility of the proposed amendment (“Foman Factors”).
11
     Moore v. Kayport Package Express, Inc., 885 F.2d 531, 538 (9th Cir. 1989) (citing to
12
     Foman v. Davis, 371 U.S. 178, 182, 9 L.Ed.2d 222, 83 S.Ct. 227 (1962); DCD
13
     Programs, Ltd .v. Leighton, 833 F.2d 183, 186 (9th Cir. 1987).
14
           The scheduling conference took place, without appearances, on February 3,
15
     2015. Pursuant to the schedule of pretrial and trial dates, the deadline to amend
16
     pleadings is May 4, 2015. Plaintiff is within the time allowed for amendments to
17

18
     pleadings. MESRIANI’S motion to dismiss was filed on November 7, 2014. The

19
     Court issued its ruling on said motion on February 6, 2015. Plaintiff’s FAC was filed

20   on February 26, 2015, with four new claims. It was at this time when Plaintiff
21   realized it had new facts giving rise to new claims and that a motion for leave to
22   amend was necessary. From the time of the Court’s ruling to the time of the filing of
23   this motion it has been less than 45 day. There has been no undue delay in bringing
24   this matter to the Court’s attention.
25         Plaintiff is not attempting to delay progress of this matter because the case is
26   still in the pleading stages.      The proposed amendment will not result in the
27   continuance of any trial date or other proceedings in this action. Furthermore, there is
28   no bad faith motive behind the request for leave to amend. The purpose of the
                                                5
            PLAINTIFF’S NOTICE OF MOTION FOR LEAVE TO AMEND FIRST AMENDED COMPLAINT
Case 2:14-cv-07241-RSWL-MRW Document 69-1 Filed 03/18/15 Page 7 of 9 Page ID #:668




 1   amendment is to plead the applicable claims in order to have an adjudication on the
 2   merits of this case. The Court has already granted Plaintiff leave to amend three
 3   causes of action against MESRIANI. Accordingly, MESRIANI is still a defendant in
 4   this case. The additional facts discovered after the original complaint show that
 5
     MESRIANI was engaged in business of providing a legal directory to the consumers.
 6
     He advertized the “08” mark by using the web address of www.08law.net. Then
 7
     consumers who went to that website, were automatically diverted to another site with
 8
     the web address of www.findthebestlawfirm.com, which purports to be a legal
 9
     directory. Plaintiff was not aware of these facts at the time of the first complaint.
10
     Plaintiff seeks to amend the complaint to have all of the claims applicable to the facts
11
     in this action pled, so that there can be adjudication on the merits of all of Plaintiff’s
12
     claims against the Defendants. There can be no bad faith in said intention.
13
           Plaintiff has not been given repeated opportunities to cure defects in the
14
     pleading. MESRIANI filed a Motion to Dismiss to Plaintiff’s original complaint.
15
     After the Court’s ruling on said motion, Plaintiff attempted to cure the defects and
16
     added new causes of action based on the Court’s rulings, a reassessment of the facts
17

18
     and a consideration of new facts. The FAC is Plaintiff’s second attempt. If leave to

19
     amend is granted, Plaintiff will be refilling its FAC as a Second Amended Complaint

20   without changing the content. In reality, Plaintiff is only asking for a second chance
21   to plead properly.
22         Consideration of prejudice to opposing party is the most important factor in
23   deciding whether to grant leave. Eminence Capital, 316 F.3d at 1052. “Absent
24   prejudice, or a strong showing of any of the remaining Foman factors, there exists
25   a presumption under Rule Rule 15(a) in favor of granting leave to amend” (emphasis
26   added). Id. at 1052. Granting leave for Plaintiff to amend its complaint will not
27   prejudice any of the Defendants. No discovery has been conducted in this case. The
28   action is still in the pleading stage. MESRIANI and all other Defendants will have
                                               6
           PLAINTIFF’S NOTICE OF MOTION FOR LEAVE TO AMEND FIRST AMENDED COMPLAINT
Case 2:14-cv-07241-RSWL-MRW Document 69-1 Filed 03/18/15 Page 8 of 9 Page ID #:669




 1   sufficient time to investigate Plaintiff’s additional claims and conduct proper
 2   discovery. Discovery cut-off is not until October 5, 2015. Trial is set for March 1,
 3   2016. Parties will have plenty of time to prepare for trial based on the additional
 4   claims. There can be no possible argument for prejudice to defendants.
 5
           Finally, the proposed amendment is not futile. The four new claims are based
 6
     on all of the facts known to Plaintiff at this time, including new facts discovered after
 7
     the filing of the original complaint and are pled based on the Court’s ruling on the
 8
     MESRIANI Motion to Dismiss. Plaintiff asserts claims based on the common theme
 9
     that the KETAB MARKS, such as the “08” mark, were used by MESRIANI in
10
     commerce, without Plaintiff’s permission, which caused confusion in the public as to
11
     who was providing the services and/or goods.          Because the “08” mark and its
12
     combination are KETAB’S MARKS, MESRIANI benefited from the reputation and
13
     goodwill of KETAB and deceived the public into believing that its services were
14
     connected with KETAB’S services.          The four additional claims for Trademark
15
     Infringement by Imitating and False Advertizing, Common Law Unfair Competition
16
     and False Designation of Origin, Common law Fraud and False Advertizing are
17

18
     appropriate based on these facts. Plaintiff must be allowed to plead all applicable

19
     claims. As such, the amendments are not futile.

20         As there can be no argument for prejudice to defendants, in order for this
21   Court to deny Plaintiff’s motion for leave to amend, there must be strong showings
22   under the remaining factors. No such showing can be made. Accordingly, Plaintiff
23   should be given leave to amend.
24       LEAVE TO CORRECT CAPTION AND NAMES OF DEFENDANTS
25         Plaintiff is also seeking leave to amend the caption and names of defendants in
26   the body of the complaint. Plaintiff’s Complaint and First Amended Complaint
27   (“FAC”) named Mesriani Law Group, PC as a professional corporation. Plaintiff has
28   discovered that the correct name of the corporation is Mesriani & Associates, P.C..
                                               7
           PLAINTIFF’S NOTICE OF MOTION FOR LEAVE TO AMEND FIRST AMENDED COMPLAINT
Case 2:14-cv-07241-RSWL-MRW Document 69-1 Filed 03/18/15 Page 9 of 9 Page ID #:670




 1   Furthermore, Mesriani Law Group is the fictitious business name of Rodney
 2   Mesriani, and also the name used by the law firm Mesriani & Associates, P.C. in
 3   their practice. Accordingly, in order to name the defendants correctly, Plaintiff is
 4   seeking to make the following amendments to the caption and body of the complaint:
 5
            1. Mesriani Law Group, P.C. amended to Mesriani & Associates, P.C.;
 6
            2. Mesriani Law Group to be designated as an aka of Mesriani & Associates,
 7
                 P.C. and the dba of Rodney Mesriani.
 8
            Leave to amend the caption to correct names of defendants should be granted.
 9
                                        CONCLUSION
10
            This is, in reality, only Plaintiff’s second attempt at pleading a complaint.
11
     There is no justifiable basis to deny Plaintiff’s request for leave to amend because
12
     Defendants cannot show prejudice or a strong showing of undue delay, bad faith, or
13
     futility.   There is a strong policy favoring the granting of leave.     Plaintiff is
14
     respectfully requesting this Court to consider the strong presumption and the
15
     absence of contrary showing and grant Plaintiff leave to amend to file the attached
16
     Second Amended Complaint.
17

18

19   Dated: March 18, 2015                        ADLI LAW GROUP, P.C.
20

21

22                                                By: /s/Marina Manoukian_____
23
                                                  Dariush G. Adli, Esq.
                                                  Marina Manoukian
24
                                                  Attorneys for Plaintiff
25

26

27

28


                                                 8
             PLAINTIFF’S NOTICE OF MOTION FOR LEAVE TO AMEND FIRST AMENDED COMPLAINT
